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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA



SANDRA FRANKLIN,

              Plaintiff,                                   CASE NO. 8:20CV38

v.                                                  JOINT MOTION FOR ENTRY OF
                                                  CONSENT ORDER AND WITHDRAW
M.N.G., INC.,                                         OF MOTION TO ENFORCE

              Defendant.




        Plaintiff, Sandra Franklin, respectfully moves to withdraw her Motion to Enforce

Settlement Agreement (Filing No. 12) as moot.

        Plaintiff and Defendant, M.N.G., Inc., jointly notify the Court that a Consent Order

resolving the claims brought by Plaintiff against Defendant was agreed upon by the

parties. The parties respectfully request that the Court grant this motion, enter the

attached Consent Order, retain jurisdiction for the duration of the Order to enforce its

terms, and once the terms of the Order have been satisfied, dismiss this case with

prejudice.

        WHEREFORE, the parties respectfully request that the Court enter an order

declaring the Motion to Enforce Settlement Agreement as withdrawn as moot and enter

the Consent Order submitted by the parties.
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  SANDRA FRANKLIN, Plaintiff,                          M.N.G., INC., Defendant,



  By: /s/Edward I Zwilling                             By: /s/Scott P. Moore
      Edward Zwilling                                      Scott Parrish Moore (NE#
  of  LAW OFFICES OF EDWARD I.                             20752)
      ZWILLING, LLC                                    of  BAIRD HOLM LLP
       4000 EAGLE POINT CORP DR.                           1700 Farnam Street
      Birmingham, AL 35242                                 Suite 1500
      Phone: 205-822-2701                                  Omaha, NE 68102-2068
                                                           Phone: 402-344-0500




                              CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2020, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which sent notification of the filing to the
following:

       Edward I. Zwilling

and I hereby certify that I have mailed by United States Postal Service, postage prepaid,
this document to the following non CM/ECF participants:

       None.

                                                 /s/Scott P. Moore

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